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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
ALEX SAPIR, 260-261 MADISON AVENUE LLC
and SFM REALTY CORP.,

                                   Plaintiffs,
                 -against-                                                   20 CIVIL 6191 (RA)

                                                                              JUDGMENT
ROTEM ROSEN, OMER ROSEN, and JOHN and
JANE DOE 1-100,

                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated October 29, 2021, the Court has denied the requests made in

Omer's letter. Given that Plaintiffs have not filed an amended complaint within the deadline the

Court set in its September 30 Order, this action is hereby dismissed with prejudice. Judgment is

entered for Defendants; accordingly, the case is closed.

Dated: New York, New York

          October 29, 2021


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
